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                                         October 29, 2024

Via ECF

Hon. Lewis J. Liman
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007
       Re:     Freeman et al. v. Giuliani, 24-cv-06563-AKH, 24-mc-00353-LJL
Dear Judge Liman:
        The Court fixed today as the date for turnover of assets identified in the Court’s Opinion
and Order, ECF 62. The Court gave Plaintiffs, as receivers, the power to take possession,
ownership and control of the receivership property, and to effectuate a transfer, assignment or
sale of such property. ECF 62 at 18. The Court ordered Defendant to comply with the directives
of the receivers and to execute and deliver any documents that the receivers request. Id. at 21.
        We wrote to Mr. Nathan at 10:53 this morning, asking for instructions with respect to
what the receivers need or want to effectuate the transfers: “Mr. Giuliani is ready to make the
turnovers. We await your advice/instructions regarding details and documents e.g., documents
transferring title of shares and car. Please advise.” It seems obvious that a turnover of, for
example, the shares of the New York co-op, or an automobile, must be made by written
assignment. Other items, such as wristwatches, are being held for delivery wherever Plaintiffs
request, and/or to whomever Plaintiffs identify.
       At 10:54 this morning, Mr. Nathan wrote back: “Thanks, David [referring to co-counsel,
David Labkowski, Esq.]. We will respond promptly with that information.” As of now,
however, more than eight hours later, and past the close of business, Mr. Nathan has not done so.
We therefore write to inform the Court of the status of the turnover, and to assure the Court that
Defendant is, and will remain, ready to comply.
                                      Respectfully submitted,

                                       /s/ Kenneth A. Caruso
                                        Kenneth A. Caruso
cc:    Counsel of Record (via ECF)
